                    Case 19-50439                Doc 8          Filed 08/06/19 Entered 08/06/19 16:23:23                         Desc Main
                                                                  Document     Page 1 of 56
Fill in this information to identify your case and this filing:


Debtor 1          Mark                   Joseph                Volak
                  __________________________________________________________________
                    First Name               Middle Name                 Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                 Last Name


                                        Western District of North Carolina
United States Bankruptcy Court for the: ______________________________________

Case number         19-50439
                    ___________________________________________
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X    Yes. Where is the property?
                                                                  What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                  
                                                                  X    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. Residence:    113 Chaska Loop; CMA
           _________________________________________                  Duplex or multi-unit building
                                                                                                                    Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
             value listed                                             Condominium or cooperative                   Current value of the     Current value of the
                                                                      Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                      Land                                          279,900.00
                                                                                                                    $________________         139,950.00
                                                                                                                                             $_______________
                                                                      Investment property
             Troutman                 NC 28166
             _________________________________________
                                                                      Timeshare                                    Describe the nature of your ownership
             City                        State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                  
                                                                  X    Other See  Attachment 1
                                                                             __________________________________
                                                                                                                    the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                                                                    Tenancy  by the Entirety
                                                                                                                    __________________________________________
             Iredell                                              Debtor 1 only
             _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                        (see instructions)
                                                                  
                                                                  X At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________
    If you own or have more than one, list here:
                                                                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                    Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                    Condominium or cooperative                     Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                     Land                                          $________________        $_________________
                                                                     Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                     Timeshare
                                                                                                                    Describe the nature of your ownership
                                                                                                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________      the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.    __________________________________________

                                                                 
                                                                  Debtor 1 only
             ________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                 
                                                                  At least one of the debtors and another               (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


   Official Form 106A/B                                           Schedule A/B: Property                                                             page 1
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Debtor 1       Mark         Joseph           Volak Document
               _______________________________________________________                  Page 2 of Case                19-50439
                                                                                                  56 number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  139,950.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Chevrolet
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     Colorado
                                      ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2016
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                      81421                                                                               entire property?          portion you own?
           Approximate mileage:       ____________               
                                                                 X At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                18,429.00
                                                                                                                          $________________          9,214.00
                                                                                                                                                    $________________
           Vin #1GCGTDE3XG1133241; KBB
                                                                     instructions)
           value

   If you own or have more than one, describe here:

           Make:                      Lexus
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     RX300
                                      ______________
                                                                 
                                                                 X Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2003
                                                                 Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage:       163806
                                      ____________               At least one of the debtors and another
           Other information:
                                                                                                                           2,428.00                  2,428.00
           Vin #JTJHF10U930313866; KBB                            Check if this is community property (see               $________________         $________________
                                                                     instructions)
           value




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
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Debtor 1           Mark         Joseph           Volak Document
                   _______________________________________________________                                  Page 3 of Case                19-50439
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                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
   
   X Yes

            Make:       Glastron
                        ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                   17.5
            Model: ____________________                                       
                                                                              X Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                        1997
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?
            value is debtor estimate
                                                                               Check if this is community property (see                                  2,000.00
                                                                                                                                                         $________________                 1,000.00
                                                                                                                                                                                          $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       12,642.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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Debtor 1            Mark         Joseph           Volak
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                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          br, dr, lr, family rm furn, w/d, push mower, kitch appl, dishes, pots, pans; 1/2 value                                                                      1,525.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... 2 tvs, computer, printer, stereo, cell phone; 1/2 value                                                                                                             400.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   
   X Yes. Describe. .........china, antique radio/record player; 1/2 value                                                                                                                           212.50
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
   
   X    Yes. Describe. ......... carpentry tools, tools; 1/2 value                                                                                                                                   200.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........clothing                                                                                                                                                            500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........
                                 wedding ring                                                                                                                                                        200.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       3,037.50
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
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                    _______________________________________________________                                                         Page 5 of Case                19-50439
                                                                                                                                              56 number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 X     Yes .....................................................................................................................................................................    Cash: .......................     20.00
                                                                                                                                                                                                                      $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                             Bank of America; jt w/spouse
                                                                                                 _________________________________________________________                                                             1,016.02
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       BB&T;  Trust
                                                                                                  _________________________________________________________                                                            3,305.25
                                                                                                                                                                                                                      $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

    No                                      Name of entity:                                                                                                                         % of ownership:
   
   X Yes. Give specific                      See  Attachment 2
                                             _____________________________________________________________________ 50
                                                                                                                   ___________%                                                                                        0.00
                                                                                                                                                                                                                      $__________________
       information about
       them. ........................        fdba Compass Homes LLC; no assets; Liabilities: Reid Suit $25000
                                             _____________________________________________________________________ 50
                                                                                                                   ___________%                                                                                        0.00
                                                                                                                                                                                                                      $__________________
                                             See  Attachment 3
                                             _____________________________________________________________________ 50
                                                                                                                   ___________%                                                                                        0.00
                                                                                                                                                                                                                      $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
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                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________                $__________________
                                         ______________________________________________________________________________________
                                                                                                                                               $__________________
                                         ______________________________________________________________________________________
                                                                                                                                               $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
   
   X   Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________         $__________________

                                         Pension plan:             ___________________________________________________________________         $__________________

                                         IRA:                      Janney
                                                                   ___________________________________________________________________          133,995.60
                                                                                                                                               $__________________

                                         Retirement account:       ___________________________________________________________________         $__________________

                                         Keogh:                    ___________________________________________________________________         $__________________

                                         Additional account:       ___________________________________________________________________         $__________________

                                         Additional account:       ___________________________________________________________________         $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________          $___________________
                                         Gas:                  ______________________________________________________________________          $___________________
                                         Heating oil:          ______________________________________________________________________          $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                               $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                               $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                               $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                               $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                               $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                               $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________               $__________________
                                         _______________________________________________________________________________________               $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                        page 6
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                    ____________________________________________________________________________________                 $_________________
                                                    ____________________________________________________________________________________                 $_________________
                                                    ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

      No
   
   X   Yes. Give specific                          The Volak Living Trust; only assets is BB&T bank account (17.6)
       information about them. ..                                                                                                                         0.00
                                                                                                                                                         $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                        $__________________


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                          Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                      State:                $_________________
            and the tax years. ......................
                                                                                                                               Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                              Alimony:                   $________________
                                                                                                                              Maintenance:               $________________
                                                                                                                              Support:                   $________________
                                                                                                                              Divorce settlement:        $________________
                                                                                                                              Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                         $______________________



Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 7
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                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   X    Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                     Ohio Life; $450K term; no c/v
                                                                     ___________________________________________ spouse
                                                                                                                 ____________________________                                                        $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       138,336.87
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
                    Case 19-50439                             Doc 8              Filed 08/06/19                       Entered 08/06/19 16:23:23 Desc Main
Debtor 1            Mark         Joseph           Volak Document
                    _______________________________________________________                                                     56 number (if known)19-50439
                                                                                                                      Page 9 of Case                _____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
                       Case 19-50439                              Doc 8                Filed 08/06/19                          Entered 08/06/19 16:23:23                                             Desc Main
 Debtor 1              Mark         Joseph           Volak Document
                       _______________________________________________________            56 number (if known)19-50439
                                                                               Page 10 ofCase                 _____________________________________
                       First Name   Middle Name      Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      139,950.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    12,642.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               3,037.50
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           138,336.87
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             154,016.37
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  154,016.37


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        293,966.37
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
              Case 19-50439             Doc 8        Filed 08/06/19 Entered 08/06/19 16:23:23                            Desc Main
                                                      Document     Page 11 of 56

                                                 Attachment
                                  Debtor: Mark Joseph Volak Case No: 19-50439


Attachment 1
     Note in spouse name only; balance $304,815.98
Attachment 2
     fdba Compass Building & Realty LLC; no assets; Liabilities: $282,735.41: 84 Lumber (60757.11), Little Suit (26276.59), Reid Suit (25000), Carter
     Lumber (67668.21), BMC Stock Lumber (13347), Rowan Septic/Well (22000), Richard & Barbara Wilson (76686.51)
Attachment 3
     New Home Team LLC; Assets: BOA (2244.50); Liabilities: Elroy Digital (3975.80)
                  Case 19-50439            Doc 8          Filed 08/06/19 Entered 08/06/19 16:23:23                                 Desc Main
                                                           Document     Page 12 of 56
 Fill in this information to identify your case:

 Debtor 1          Mark Joseph Volak
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Western District
                                          __________      of of
                                                     District North Carolina
                                         _____________________________________________
                                                                __________

 Case number
  (If known)
                     19-50439
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     X You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

                   Residence: 113 Chaska Loop;                                                                              G.S. § 1C-1601(a)(1)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                   CMA value listed
                                                           139,950.00
                                                          $________________            
                                                                                       X $ 1.00
                                                                                           ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 1.0                                                                   any applicable statutory limit
                    ______                                                                                                  ____________________________

                   2003 Lexus RX300 with 163806                                                                             G.S. § 1C-1601(a)(3)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                   miles.
                                                 2,428.00
                                                $________________                         2,428.00
                                                                                       X $ ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 3.2
                    ______                                                                any applicable statutory limit
                                                                                                                            ____________________________
                   1997 Glastron 17.5                                                                                       G.S. § 1C-1601(a)(2)
                                                                                                                            ____________________________
      Brief
      description:
                                                           1,000.00
                                                          $________________            
                                                                                       X $ 658.73
                                                                                           ____________                     ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: ______
                    4.1                                                                   any applicable statutory limit
                                                                                                                            ____________________________

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                   page 1 of __
             Case 19-50439                  Doc 8      Filed 08/06/19          Entered 08/06/19 16:23:23                  Desc Main
Debtor 1     Mark  Joseph Volak                    Document
             _______________________________________________________ Page 13 ofCase
                                                                                56 number (if known)_____________________________________
                                                                                                    19-50439
             First Name       Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        See Attachment 1                                                                               G.S. § 1C-1601(a)(4)
                                                                                                                 ____________________________
     description: _________________________             1,525.00
                                                       $________________         1,525.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 6
                   ______                                                        any applicable statutory limit ____________________________

     Brief        2 tvs, computer, printer, stereo,                                                                G.S. § 1C-1601(a)(4)
                                                                                                                   ____________________________
     description: cell phone; 1/2 value
                  _________________________
                                                        400.00
                                                       $________________      
                                                                              X $ ____________
                                                                                  400.00
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          7
                          ______                                                                                   ____________________________

     Brief        china, antique radio/record                                                                      G.S. § 1C-1601(a)(4)
                                                                                                                   ____________________________
                  player; 1/2 value
     description: _________________________
                                                        212.50
                                                       $________________         212.50
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: 8                                                             any applicable statutory limit    ____________________________
                   ______
                  carpentry tools, tools; 1/2 value                                                              G.S. § 1C-1601(a)(4)
                                                                                                                 ____________________________
     Brief
     description: _________________________
                                                        200.00
                                                       $________________         200.00
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
     Schedule A/B: 9
                   ______                                                        any applicable statutory limit ____________________________

     Brief        clothing                                                                                         G.S. § 1C-1601(a)(4)
                                                                                                                   ____________________________
     description: _________________________
                                                        500.00
                                                       $________________         500.00
                                                                              X $ ____________
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          11
                          ______                                                                                   ____________________________

                  wedding ring                                                                                     G.S. § 1C-1601(a)(4)
                                                                                                                   ____________________________
     Brief
     description: _________________________
                                                        200.00
                                                       $________________         200.00
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________
                   12
                  Other Financial Account with                                                                   G.S. § 1C-1601(a)(2)
                                                                                                                 ____________________________
     Brief
                  BB&T; Trust
     description: _________________________
                                                        3,305.25
                                                       $________________         3,305.25
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
                   17.6
     Schedule A/B: ______                                                        any applicable statutory limit ____________________________

     Brief        IRA with Janney                                                                                  G.S. § 1C-1601(a)(9)
                                                                                                                   ____________________________
     description: _________________________
                                                        133,995.60
                                                       $________________         133,995.60
                                                                              X $ ____________
                                                                                                                   ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          21
                          ______                                                                                   ____________________________

     Brief        Cash                                                                                             G.S. § 1C-1601(a)(2)
                                                                                                                   ____________________________
     description: _________________________
                                                        20.00
                                                       $________________         20.00
                                                                              X $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
                   16
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________
                                                                                                                 G.S. § 1C-1601(a)(2)
                                                                                                                 ____________________________
     Brief        Checking Account with Bank of
     description: _________________________
                  America; jt w/spouse
                                                        1,016.02
                                                       $________________         1,016.02
                                                                              X $ ____________                   ____________________________
     Line from                                                                 100% of fair market value, up to ____________________________
                   17.1
     Schedule A/B: ______                                                       any applicable statutory limit ____________________________

     Brief                                                                                                         ____________________________
     description: _________________________            $________________       $ ____________                     ____________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B:                                                               any applicable statutory limit
                          ______                                                                                   ____________________________

     Brief                                                                                                         ____________________________
     description:                                      $________________       $ ____________                     ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit    ____________________________


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                           2 of __
                                                                                                                                       page ___   2
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                                                  Attachment
                                   Debtor: Mark Joseph Volak Case No: 19-50439


Attachment 1
     br, dr, lr, family rm furn, w/d, push mower, kitch appl, dishes, pots, pans; 1/2 value
                  Case 19-50439               Doc 8         Filed 08/06/19 Entered 08/06/19 16:23:23                            Desc Main
                                                             Document     Page 15 of 56

 Fill in this information to identify your case:

 Debtor               Mark Joseph Volak
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Western District of North Carolina
 United States Bankruptcy Court for the:______________________________________

 Case number           19-50439
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
                  Case 19-50439                     Doc 8                 Filed 08/06/19 Entered 08/06/19 16:23:23                Desc Main
                                                                           Document     Page 16 of 56
 Fill in this information to identify your case:

 Debtor 1         Mark  Joseph Volak
                  __________________________________________________________________
                      First Name                    Middle Name                  Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                  Last Name


                                        Western District of North Carolina
 United States Bankruptcy Court for the:_______________________________________

 Case number          19-50439
                      ____________________________________________
  (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      X    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                      ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
3.1
         Building Company No 7 LLC
         ________________________________________________________________________________                   Schedule D, line ______
         Name

         515 E Statesville Ave
         ________________________________________________________________________________
                                                                                                           Schedule E/F, line ______
         Number             Street                                                                          Schedule G, line ______
         Mooresville                              NC                       28115
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.2
         Building Company No 7 LLC
         ________________________________________________________________________________                   Schedule D, line ______
         Name

         515 E Statesville Avenue
         ________________________________________________________________________________
                                                                                                           
                                                                                                           X Schedule E/F, line 4.7
                                                                                                                                 ______
         Number             Street                                                                          Schedule G, line ______
         Mooresville                              NC                       28115
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.3      Compass Building & Realty LLC
         ________________________________________________________________________________                   Schedule D, line ______
         Name
         113 Chaska Loop
         ________________________________________________________________________________
                                                                                                           
                                                                                                           X Schedule E/F, line 4.1, 4.3, 4.10, 4.7
                                                                                                                                 ______
         Number             Street                                                                          Schedule G, line ______
         Troutman                                 NC                       28166
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

Official Form 106H                                                            Schedule H: Your Codebtors                                                     3
                                                                                                                                                  page 1 of ___
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Debtor 1         Mark  Joseph Volak                    Document
                 _______________________________________________________
                                                                         Page 17 ofCase
                                                                                    56 number (if known)19-50439
                                                                                                        _____________________________________
                 First Name     Middle Name      Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:
3.4
       Sandy  Volak
       ________________________________________________________________________________      
                                                                                             X Schedule D, line 2.1
                                                                                                                 ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.6
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.5
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.21
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
        Troutman                                 NC                       28166
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3.6
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.19
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.7
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.8
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.8
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.4
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.9
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.16
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.10
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.13
                                                                                                                   ______
        113 Chaska Loop
        ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
        Troutman                                 NC                       28166
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3.11
        Sandy Volak
        ________________________________________________________________________________      Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.12
                                                                                                                   ______
        113 Chaska Loop
        ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
        Troutman                                 NC                       28166
        ________________________________________________________________________________
        City                                          State                   ZIP Code




  Official Form 106H                                          Schedule H: Your Codebtors                                             2 of ___
                                                                                                                               page ___    3
                 Case 19-50439                Doc 8  Filed 08/06/19 Entered 08/06/19 16:23:23 Desc Main
Debtor 1         Mark  Joseph Volak                    Document
                 _______________________________________________________
                                                                         Page 18 ofCase
                                                                                    56 number (if known)19-50439
                                                                                                        _____________________________________
                 First Name     Middle Name      Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:
3.12
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.5
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.13
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.2
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
        Troutman                                 NC                       28166
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3.14
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.14
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.15
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.18
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.16
       Sandy  Volak
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.11
                                                                                                                   ______
       113 Chaska Loop
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Troutman                                 NC                       28166
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.17
       Scott Black
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.10
                                                                                                                   ______
       6344  Shining Rock Court
       ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
       Charlotte                                NC                       28277
       ________________________________________________________________________________
        City                                          State                   ZIP Code
3.18
       Scott Black
       ________________________________________________________________________________       Schedule D, line ______
        Name
                                                                                             
                                                                                             X Schedule E/F, line 4.7
                                                                                                                   ______
        6344 Shining Rock Court
        ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______
        Charlotte                                NC                       28277
        ________________________________________________________________________________
        City                                          State                   ZIP Code
3.19
        ________________________________________________________________________________      Schedule D, line ______
        Name
                                                                                             Schedule E/F, line ______
        ________________________________________________________________________________
        Number         Street                                                                 Schedule G, line ______

        ________________________________________________________________________________
        City                                          State                   ZIP Code




  Official Form 106H                                          Schedule H: Your Codebtors                                             3 of ___
                                                                                                                               page ___    3
                  Case 19-50439            Doc 8          Filed 08/06/19 Entered 08/06/19 16:23:23                           Desc Main
                                                           Document     Page 19 of 56
 Fill in this information to identify your case:


 Debtor 1           Mark  Joseph Volak
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                             Western District of North Carolina
 United States Bankruptcy Court for the: ___________________________________________

 Case number         19-50439
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status             Employed                                   
                                                                                                                    X Employed
     employers.                                                        
                                                                       X Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  __________________________________          Medical Assistant
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            __________________________________           Southlake Pediatrics/Atrium Health
                                                                                                                  __________________________________


                                          Employer’s address       ________________________________________      PO Box 32861
                                                                                                                ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________      Charlotte, NC 28232
                                                                                                                ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______                                 9_______
                                                                                                                     years

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     0.00                     2,200.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     0.00
                                                                                              $__________               2,200.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                           page 1
                  Case 19-50439                       Doc 8            Filed 08/06/19 Entered 08/06/19 16:23:23                                          Desc Main
                                                                        Document     Page 20 of 56
Debtor 1          Mark Joseph Volak
                  _______________________________________________________                                                                         19-50439
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.      0.00
                                                                                                                            $___________            2,200.00
                                                                                                                                                   $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      0.00
                                                                                                                           $____________            492.00
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________            458.00
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      0.00
                                                                                                                           $____________            950.00
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      0.00
                                                                                                                           $____________            1,250.00
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                               0.00                    0.00
                                                                                                                           $____________           $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             0.00                + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                            0.00
                                                                                                                           $___________     +       1,250.00
                                                                                                                                                   $_____________           1,250.00
                                                                                                                                                                         = $_____________
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                   11. + $_____________

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      1,250.00
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
              Case 19-50439              Doc 8        Filed 08/06/19 Entered 08/06/19 16:23:23                             Desc Main
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                                                 Attachment
                                  Debtor: Mark Joseph Volak Case No: 19-50439


Attachment 1: Additional Notes
     Note: debtor was out of work due to back surgery. This is why getting family and IRA help. Once returns, will try real estate. If that doesn't work,
     he wlll be looking for other employment.
                  Case 19-50439             Doc 8          Filed 08/06/19 Entered 08/06/19 16:23:23                                 Desc Main
                                                            Document     Page 22 of 56
 Fill in this information to identify your case:

 Debtor 1          Mark Joseph Volak
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                            Western District of North Carolina
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         19-50439
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  
                                            X    No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                        Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   1,950.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      85.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      250.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
                 Case 19-50439               Doc 8        Filed 08/06/19 Entered 08/06/19 16:23:23                     Desc Main
                                                           Document     Page 23 of 56
Debtor 1         Mark  Joseph Volak
                 _______________________________________________________                                        19-50439
                                                                                          Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     225.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     350.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     373.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      675.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      125.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     75.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     350.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      800.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    493.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    135.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    471.43
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.    0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
                 Case 19-50439               Doc 8       Filed 08/06/19 Entered 08/06/19 16:23:23                          Desc Main
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Debtor 1         Mark  Joseph Volak
                 _______________________________________________________                      Case number (if known)19-50439
                                                                                                                    _____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: cigarettes
                       _________________________________________________                                          21.     250.00
                                                                                                                        +$_____________________

22.    Calculate your monthly expenses.                                                                                   6,607.43
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.     6,607.43
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           1,250.00
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           6,607.43

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           -5,357.43
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
                  Case 19-50439                     Doc 8            Filed 08/06/19 Entered 08/06/19 16:23:23                                                   Desc Main
                                                                      Document     Page 25 of 56

 Fill in this information to identify your case:

 Debtor 1          Mark  Joseph Volak
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Western District of North Carolina
                                         ______________________________________

 Case number         19-50439
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 139,950.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 154,016.37
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 293,966.37
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 22,178.35
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 64,089.03
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 86,267.38
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 1,250.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 6,607.43
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                 Case 19-50439                Doc 8        Filed 08/06/19 Entered 08/06/19 16:23:23                             Desc Main
                                                            Document     Page 26 of 56
Debtor 1         Mark Joseph Volak
                 _______________________________________________________                                                 19-50439
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

    
    X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 7,174.83
                                                                                                                                         _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            0.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                     0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                       Case 19-50439              Doc 8        Filed 08/06/19 Entered 08/06/19 16:23:23                               Desc Main
                                                                Document     Page 27 of 56
Fill in this information to identify your case:

Debtor 1          Mark Joseph Volak
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Western District of North Carolina
                                        _______________________________________
Case number         19-50439
                    ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
                  Case 19-50439             Doc 8         Filed 08/06/19 Entered 08/06/19 16:23:23                          Desc Main
                                                           Document     Page 28 of 56

 Fill in this information to identify your case:

 Debtor 1          Mark                    Joseph                 Volak
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Western  District of North Carolina
                                         ____________________________________________

 Case number         19-50439
                     ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1

               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
                Case 19-50439                   Doc 8        Filed 08/06/19 Entered 08/06/19 16:23:23                                     Desc Main
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Debtor 1        Mark Joseph Volak
                _______________________________________________________                                  Case number (if known)19-50439
                                                                                                                               _____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            0.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:                             Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            27,489.00
                                                                                         $________________            bonuses, tips           $________________
            (January 1 to December 31, 2018
                                       _________)           
                                                            X    Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          19,913.00
                                                                                         $________________                                    $________________
            (January 1 to December 31, 2017
                                       _________)           
                                                            X    Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     X     Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          IRA
                                                          __________________             19,000.00
                                                                                        $_________________ _____________________
            From January 1 of current year until                                                                                 $_________________
            the date you filed for bankruptcy:            family
                                                          __________________             14,960.00
                                                                                        $_________________ _____________________
                                                                                                                                 $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, 2018
                                       ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, 2017
                                       ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
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Debtor 1       Mark  Joseph Volak
               _______________________________________________________                                                   19-50439
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6, 825* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

 
  X        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

               
               X    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      Credit Union Loan Source
                      ____________________________________            05/14/19
                                                                     _________       1,414.29
                                                                                    $_________________  22,178.00
                                                                                                       $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                        
                                                                                                                                        X Car
                      1669 Phoenix Pky, Ste 110
                      ____________________________________            04/16/19
                                                                     _________
                      Number    Street                                                                                                   Credit card
                                                                      06/14/19
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      College Park GA 30349
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      Franklin American
                      ____________________________________            07/01/19
                                                                     _________       5,850.00
                                                                                    $_________________  304,815.00
                                                                                                       $__________________              
                                                                                                                                        X Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            05/28/19
                                                                     _________                                                           Credit card
                      Number    Street

                                                                                                                                         Loan repayment
                      ____________________________________            04/21/19
                                                                     _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1           Mark  Joseph Volak
                   _______________________________________________________                                                  19-50439
                                                                                                      Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1        Mark  Joseph Volak
                _______________________________________________________                                        Case number (if known)19-50439
                                                                                                                                     _____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X     Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  Breach of Contact
                                                                                                        See  Attachment 1
                                                                                                        ________________________________________        
                                                                                                                                                        X
                      84 Lumber Company LP vs.
            Case title_____________________________                                                     Court Name
                                                                                                                                                            Pending

                                                                                                                                                           On appeal
            See  Attachment 2
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number GD-16-338L
                        ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code

                                                                  Collection
                                                                                                        See  Attachment 3
                                                                                                        ________________________________________        
                                                                                                                                                        X   Pending
                      Clinton Boyd Little and
            Case title_____________________________                                                     Court Name
                                                                                                                                                           On appeal
            See  Attachment 4
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number 16cvs1124
                        ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code
                                                                                                                                          See Attachment 5
 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     X     No. Go to line 11.
          Yes. Fill in the information below.

                                                                               Describe the property                                    Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                            Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                               Describe the property                                    Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                               Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1          Mark  Joseph Volak
                  _______________________________________________________                                                      19-50439
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1           Mark  Joseph Volak
                   _______________________________________________________                                     Case number (if known)19-50439
                                                                                                                                     _____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X     Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Law Offices of Robert H Gourley Jr                                                                                          transfer was made
            ___________________________________
            Person Who Was Paid
                                                                 6/5/19 $1340 a/f , 6/17 $1160 a/f, $335 f/f, 7/18 $150 a/f
            249 E Broad St
            ___________________________________
            Number       Street
                                                                                                                                        06/05/19
                                                                                                                                        _________            1,340.00
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                        06/17/19
                                                                                                                                        _________            1,495.00
                                                                                                                                                            $_____________
            Statesville NC 28677
            ___________________________________
            City                       State    ZIP Code
                                                                                                                                        See Attachment 6
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
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Debtor 1           Mark Joseph Volak
                   _______________________________________________________                                    Case number (if known)19-50439
                                                                                                                                    _____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
                   Case 19-50439                    Doc 8             Filed 08/06/19 Entered 08/06/19 16:23:23                                Desc Main
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Debtor 1           Mark  Joseph Volak
                   _______________________________________________________                                                            19-50439
                                                                                                                Case number (if known)_____________________________________
                   First Name        Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

          No
     
     X     Yes. Fill in the details.

                                                                      Description and value of the property transferred                                       Date transfer
                                                                                                                                                              was made
                                                                    $85000
           Name of trust        Volak Living Trust
                                __________________________
                                                                                                                                                             12/2015
                                                                                                                                                             _________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
     
     X     Yes. Fill in the details.

                                                                      Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                           instrument               closed, sold, moved,   closing or transfer
                                                                                                                                    or transferred
            Janney
            ____________________________________
            Name of Financial Institution
                                                                          XXXX–___ ___ ___ ___             Checking               1/2019
                                                                                                                                    _________               10,000.00
                                                                                                                                                           $___________
            ____________________________________
            Number       Street
                                                                                                            Savings
            ____________________________________                                                            Money market
            ____________________________________
                                                                                                            Brokerage
            City                          State    ZIP Code                                                
                                                                                                           X Other__________
                                                                                                                  IRA

            Janney
            ____________________________________                          XXXX–___ ___ ___ ___             Checking               6/5/2019
                                                                                                                                    _________               5,000.00
                                                                                                                                                           $___________
            Name of Financial Institution
                                                                                                            Savings
            ____________________________________
            Number       Street                                                                             Money market
            ____________________________________                                                            Brokerage
            ____________________________________                                                           
                                                                                                           X Other__________
                                                                                                                  IRA
            City                          State    ZIP Code                                                                                          See Attachment 7
 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     X     No
          Yes. Fill in the details.
                                                                          Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                  
                                                                                                                                                                  X   No
            ____________________________________
            Name of Financial Institution
                                                                     _______________________________________
                                                                     Name
                                                                                                                                                                     Yes

            ____________________________________                     _______________________________________                                                      
            Number       Street                                      Number      Street
            ____________________________________
                                                                     _______________________________________
                                                                     City          State      ZIP Code
            ____________________________________
            City                          State    ZIP Code



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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Debtor 1            Mark  Joseph Volak
                    _______________________________________________________                                              Case number (if known)19-50439
                                                                                                                                               _____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________                                                               
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     X   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Mark  Joseph Volak
                   _______________________________________________________                                              Case number (if known)19-50439
                                                                                                                                              _____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                          Pending
           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
           X    A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     X     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Compass   Building & Realty LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name
                                                                  Home Building
            ____________________________________
                                                                                                                                             2 ___
                                                                                                                                       EIN: ___ 7 – ___
                                                                                                                                                     0 ___
                                                                                                                                                        6 ___
                                                                                                                                                           8 ___
                                                                                                                                                              5 ___
                                                                                                                                                                 4 ___
                                                                                                                                                                    0 ___
                                                                                                                                                                       4
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________                  William McLucas
                                                                                                                                       From2008
                                                                                                                                             _______ To2016
                                                                                                                                                        _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            Compass Homes LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name
                                                                  Home Building
            ____________________________________
                                                                                                                                             _ ___
                                                                                                                                       EIN: ___ _ – ___
                                                                                                                                                     _ ___
                                                                                                                                                        _ ___
                                                                                                                                                           _ ___
                                                                                                                                                              _ ___
                                                                                                                                                                 _ ___
                                                                                                                                                                    _ ___
                                                                                                                                                                       _
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________                  William McLucas
                                                                                                                                             _______ To 2016
                                                                                                                                       From2010          _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 11
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Debtor 1           Mark Joseph Volak
                   _______________________________________________________                                    Case number (if known)19-50439
                                                                                                                                    _____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
            New Home Team LLC                                                                                               Do not include Social Security number or ITIN.
            ____________________________________
            Business Name                                         Real Estate
                                                                                                                                  8 ___
                                                                                                                            EIN: ___ 1 – ___
                                                                                                                                          5 ___
                                                                                                                                             2 ___
                                                                                                                                                2 ___
                                                                                                                                                   3 ___
                                                                                                                                                      6 ___
                                                                                                                                                         1 ___
                                                                                                                                                            6
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From2017
                                                                                                                                  _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
      
      X      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
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                                                Attachment
                                 Debtor: Mark Joseph Volak Case No: 19-50439


Attachment 1
     Court of Common Pleas of Allegheny County, PA, Civil Division
Attachment 2
     Compass Building & Realty LLC and Mark J Volak
Attachment 3
     Lincoln County, NC Superior Court Division
Attachment 4
     Sally Thomas Spingler vs. Compass Building & Realty LLC, Mark J Volak, Scott Y Black and Building Company No 7 LLC
Attachment 5 Additional Lawsuits, Court Actions, or Administrative Proceedings
     Case Title: Leslie Reid vs. Compass Building & Realty LC, Mark J Volak and Scott Black
     Case Number: 16CVS1475
     Nature of Case: Breach of Contract
     Court or Agency’s Name: Iredell County, NC Superior Court Division
     Status of Case: Pending

Attachment 6
     Additional Transfers to Law Offices of Robert H Gourley Jr
     Date of Transfer: July 18, 2019
     Value of Transfer: $150.00
Attachment 7 Additional Closed Financial Accounts:
     Name of Financial Institution:Janney
     Last 4 Digits of Account Number:
     Type of Account: IRA
     Date Closed: 7/5/2019
     Final Balance: $4,000.00
                      Case 19-50439                Doc 8       Filed 08/06/19 Entered 08/06/19 16:23:23                              Desc Main
                                                                Document     Page 41 of 56
Fill in this information to identify your case:

Debtor 1           Mark Joseph Volak
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                        Western District Of North Carolina
United States Bankruptcy Court for the: _______________________________________

Case number         19-50439
                    ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                           No
          name:      Credit Union Loan Source
                                                                                       Retain the property and redeem it.               
                                                                                                                                         X Yes
          Description of
          property                                                                    
                                                                                      X Retain the property and enter into a
          securing debt: 2016 Chevrolet Colorado with 81421 miles.                       Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
               Case 19-50439                      Doc 8       Filed 08/06/19 Entered 08/06/19 16:23:23                       Desc Main
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Your name      Mark Joseph Volak
               ______________________________________________________                                                  19-50439
                                                                                                 Case number (If known)_____________________________________
               First Name           Middle Name       Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                    Will the lease be assumed?

     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
     Description of leased                                                                                                Yes
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



     ___________________________________________                   ___________________________________________
     Signature of Debtor 1                                            Signature of Debtor 2

     Date _________________                                           Date _________________
            MM /    DD   /   YYYY                                          MM /   DD /   YYYY




 Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                          page 2
                  Case 19-50439             Doc 8         Filed 08/06/19 Entered 08/06/19 16:23:23 Desc Main
 Fill in this information to identify your case:           Document     Page 43 of 56Check one box only as directed in this form and in
                                                                                                    Form 122A-1Supp:
 Debtor 1          Mark Joseph Volak
                   __________________________________________________________________
                     First Name             Middle Name               Last Name
                                                                                                       1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name                     
                                                                                                    X   2. The calculation to determine if a presumption of
                                                                                                           abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: WESTERN  DISTRICT OF NORTH CAROLINA
                                         ____________________________________________
                                                                                                           Means Test Calculation (Official Form 122A–2).
 Case number         19-50439
                     ___________________________________________                                       3. The Means Test does not apply now because of
 (If known)                                                                                                qualified military service but it could apply later.


                                                                                                     Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      Not married. Fill out Column A, lines 2-11.
     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      Married and your spouse is NOT filing with you. You and your spouse are:
     X

       
       X   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                    Column A              Column B
                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                          non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
                                                                                                      0.00
                                                                                                     $_________             2,174.83
                                                                                                                           $__________
    (before all payroll deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                      0.00
                                                                                                     $_________             0.00
                                                                                                                           $__________
    Column B is filled in.
 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
                                                                                                      0.00
                                                                                                     $_________             0.00
                                                                                                                           $__________
    filled in. Do not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                   Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                            $______    $______
                                                                               _         _
     Ordinary and necessary operating expenses                    –   $______ –_ $______ _
                                                                                             Copy                           0.00
     Net monthly income from a business, profession, or farm           0.00
                                                                      $______      0.00
                                                                                  $______ here
                                                                                                      0.00
                                                                                                     $_________            $__________

 6. Net income from rental and other real property                 Debtor 1       Debtor 2
    Gross receipts (before all deductions)                            $______   $______
                                                                              _         _
     Ordinary and necessary operating expenses                    –   $______ – $______
                                                                              _         _
                                                                                             Copy                           0.00
     Net monthly income from rental or other real property             0.00
                                                                      $______      0.00
                                                                                  $______ here
                                                                                                      0.00
                                                                                                     $_________            $__________
 7. Interest, dividends, and royalties                                                                0.00
                                                                                                     $_________             0.00
                                                                                                                           $__________



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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                                                                                          Document     Page 44 of 56
Debtor 1             Mark Joseph Volak
                     _______________________________________________________                                                        Case number (if known)19-50439
                                                                                                                                                          _____________________________________
                     First Name              Middle Name                      Last Name



                                                                                                                                       Column A               Column B
                                                                                                                                       Debtor 1               Debtor 2 or
                                                                                                                                                              non-filing spouse

 8. Unemployment compensation                                                                                                             0.00
                                                                                                                                         $__________             0.00
                                                                                                                                                                $___________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................ 
           For you ....................................................................................              0.00
                                                                                                              $______________
           For your spouse ....................................................................                      0.00
                                                                                                              $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                                3,166.67
                                                                                                                                         $__________             0.00
                                                                                                                                                                $___________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.
        family
        ______________________________________                                                                                            1,833.33
                                                                                                                                         $_________              0.00
                                                                                                                                                                $___________
        ______________________________________                                                                                           $_________             $___________
        Total amounts from separate pages, if any.                                                                                    + $_________
                                                                                                                                         0.00                 + $___________
                                                                                                                                                                 0.00

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                   5,000.00
                                                                                                                                         $_________
                                                                                                                                                          +      2,174.83
                                                                                                                                                                $___________
                                                                                                                                                                                    =    7,174.83
                                                                                                                                                                                        $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here       7,174.83
                                                                                                                                                                                    $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                   x 12
     12b.        The result is your annual income for this part of the form.                                                                                                 12b.    86,097.96
                                                                                                                                                                                    $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                                                 North Carolina

     Fill in the number of people in your household.
                                                                                                          2
     Fill in the median family income for your state and size of household. ................................................................................................. 13.    61,882.00
                                                                                                                                                                                    $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?

     14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3.

     14b. 
          X Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.

 Part 3:             Sign Below


                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                         __________________________________________________________                                             ______________________________________
                          Signature of Debtor 1                                                                                   Signature of Debtor 2

                         Date _________________                                                                                   Date _________________
                              MM / DD / YYYY                                                                                           MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
¯¯¯¯¯
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.


Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
                    Case 19-50439                            Doc 8              Filed 08/06/19 Entered 08/06/19 16:23:23                                            Desc Main
                                                                                 Document     Page 45 of 56
  Fill in this information to identify your case:                                                                                                  Check the appropriate box as directed in
                                                                                                                                                   lines 40 or 42:

  Debtor 1           Mark Joseph Volak
                     _________________________________________________________________                                                             According to the calculations required by
                      First Name                             Middle Name                          Last Name
                                                                                                                                                   this Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                             Middle Name                          Last Name                                        
                                                                                                                                                   X    1. There is no presumption of abuse.

  United States Bankruptcy Court fo              WESTERN DISTRICT OF NORTH CAROLINA
                                                 __________                                                                                            2. There is a presumption of abuse.

  Case number 19-50439
              ___________________________________________
   (If known)
                                                                                                                                                    Check if this is an amended filing



Official Form 122A–2
Chapter 7 Means Test Calculation                                                                                                                                                            04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ............................................................... Copy line 11 from Official Form 122A-1 here ...........                        7,174.83
                                                                                                                                                                                       $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

        No. Fill in $0 for the total on line 3.
    
    X    Yes. Is your spouse filing with you?

         
         X       No. Go to line 3.
                Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT
    regularly used for the household expenses of you or your dependents?

     No. Fill in 0 for the total on line 3.
    
    X Yes. Fill in the information below:


                State each purpose for which the income was used                                                        Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support                             are subtracting from
                people other than you or your dependents                                                                your spouse’s income


            wife operating allowance
            ___________________________________________________                                                                    210.00
                                                                                                                         $______________

            wife ownership allowance
            ___________________________________________________                                                                    200.00
                                                                                                                         $______________

            wife house payment (over allowance)
            ___________________________________________________                                                        + $______________
                                                                                                                                   921.00

                                                                                                                                  1,331.00
            Total. .................................................................................................     $______________
                                                                                                                                                 Copy total here ...............    ─ $_________
                                                                                                                                                                                             1,331.00



4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                             5,843.83
                                                                                                                                                                                       $_________




Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                  page 1
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Debtor 1        Mark Joseph Volak                     Document
                _______________________________________________________
                                                                                                        Page 46 ofCase
                                                                                                                   56 number (if known)_____________________________________
                                                                                                                                       19-50439
                First Name          Middle Name               Last Name




Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,                                          2
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.



   National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                                                      1,288.00
      in the dollar amount for food, clothing, and other items.                                                                                                           $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are
      under 65 and people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                               55.00
                                                                                      $____________


       7b.    Number of people who are under 65
                                                                                      X ______2

                                                                                              110.00                                      110.00
       7c.    Subtotal. Multiply line 7a by line 7b.                                  $____________              Copy here        $___________




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person                                  114.00
                                                                                      $____________

       7e.    Number of people who are 65 or older                                    X ______

                                                                                                0.00
       7f.    Subtotal. Multiply line 7d by line 7e.                                  $____________              Copy here
                                                                                                                                 + $___________
                                                                                                                                            0.00



                                                                                                                                          110.00
       7g.    Total. Add lines 7c and 7f......................................................................................     $___________        Copy total here          110.00
                                                                                                                                                                          $________




Official Form 122A–2                                                         Chapter 7 Means Test Calculation                                                              page 2
                 Case 19-50439                       Doc 8            Filed 08/06/19                   Entered 08/06/19 16:23:23 Desc Main
Debtor 1         Mark Joseph Volak                     Document
                 _______________________________________________________
                                                                                                      Page 47 ofCase
                                                                                                                 56 number (if known)_____________________________________
                                                                                                                                     19-50439
                 First Name         Middle Name              Last Name




   Local Standards                 You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses. ........................................................................                            537.00
                                                                                                                                                                            $____________


   9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount listed                                                      1,029.00
              for your county for mortgage or rent expenses. ......................................................................            $___________


           9b. Total average monthly payment for all mortgages and other debts secured by your home.



              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.

                Name of the creditor                                                               Average monthly
                                                                                                   payment

                ___________________________________                                                 $____________

                ___________________________________                                                $____________


                ___________________________________ +                                              $____________

                                                                                                                                                                  Repeat this
                                                                                                                0.00 Copy
                                             Total average monthly payment                          $____________
                                                                                                                               here
                                                                                                                                             ─ $___________
                                                                                                                                                        0.00      amount on
                                                                                                                                                                  line 33a.


       9c.     Net mortgage or rent expense.
                                                                                                                                                     1,029.00     Copy            1,029.00
                                                                                                                                                                            $___________
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                      $___________
               rent expense). If this amount is less than $0, enter $0. ..................................................................                        here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                          0.00
                                                                                                                                                                            $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain       _________________________________________________________________
           why:
                         _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       
       X 1. Go to line 12.
       2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                                         210.00
                                                                                                                                                                            $___________




Official Form 122A–2                                                       Chapter 7 Means Test Calculation                                                                     page 3
               Case 19-50439                      Doc 8         Filed 08/06/19               Entered 08/06/19 16:23:23 Desc Main
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               _______________________________________________________
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                                                                                                       56 number (if known)_____________________________________
                                                                                                                           19-50439
               First Name         Middle Name           Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:    _______________________________________________________________
                                                   _______________________________________________________________

                                                                                                                                         508.00
                                                                                                                                 $___________
       13a. Ownership or leasing costs using IRS Local Standard. ...................................................

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
              To calculate the average monthly payment here and on line 13e, add all
              amounts that are contractually due to each secured creditor in the 60 months
              after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                        Average monthly
                                                                               payment
                 Credit Union Loan Source
                 _____________________________________                                    369.64
                                                                                  $____________

                 _____________________________________                        +   $____________

                                                                                                             Copy                                  Repeat this
                                                                                          369.64
                                    Total average monthly payment                 $____________
                                                                                                             here
                                                                                                                            ─           369.64
                                                                                                                                $____________      amount on
                                                                                                                                                   line 33b.

                                                                                                                                                  Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                              Vehicle 1
                                                                                                                                        138.36
                                                                                                                                $____________     expense
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0. .............................                                                   138.36
                                                                                                                                                  here .....    $_________



       Vehicle 2            Describe Vehicle 2:    _______________________________________________________________
                                                   _______________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard. .................................................              $____________

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                        Average monthly
                                                                               payment


                 _____________________________________                            $____________



                 _____________________________________                        +   $____________


                                                                                                               Copy                                Repeat this
                                     Total average monthly payment                $____________
                                                                                                               here
                                                                                                                            ─ $____________        amount on
                                                                                                                                                   line 33c.

                                                                                                                                                  Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                              Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0. .....................................       $____________     expense
                                                                                                                                                  here ...      $________


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                              $________

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                               $________


Official Form 122A–2                                                Chapter 7 Means Test Calculation                                                             page 4
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              _______________________________________________________
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                                                                                            56 number (if known)_____________________________________
                                                                                                                19-50439
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your                           1,402.52
                                                                                                                                              $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                   $________


   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                    493.00
                                                                                                                                              $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                              $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.                 $________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                              $_______


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                             $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it     +   $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                            5,207.88
                                                                                                                                              $_______
       Add lines 6 through 23.




Official Form 122A–2                                           Chapter 7 Means Test Calculation                                               page 5
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                                                                                                             19-50439
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                                  458.00
                                                                 $____________

       Disability insurance                                      $____________

       Health savings account                                +   $____________
                                                                         458.00
                                                                                                 Copy total here .....................................
       Total                                                     $____________                                                                                   458.00
                                                                                                                                                            $________

       Do you actually spend this total amount?

       
       X   No. How much do you actually spend?                   $___________
          Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                          $________
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                                                                                                            $________
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
      8, then fill in the excess amount of home energy costs.
                                                                                                                                                            $________
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.                                                                                                                       $________
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                  $_______
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                              + $_______
      instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                            458.00
                                                                                                                                                           $_______
       Add lines 25 through 31.




Official Form 122A–2                                        Chapter 7 Means Test Calculation                                                                page 6
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                                                                                                                                                   19-50439
                    First Name           Middle Name                  Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                       Average monthly
                                                                                                                                                       payment
                    Mortgages on your home:

           33a. Copy line 9b here ................................................................................................................ 
                                                                                                                                                                      0.00
                                                                                                                                                           $_____________

                    Loans on your first two vehicles:                                                                             
           33b. Copy line 13b here. ............................................................................................................ 
                                                                                                                                                                    369.64
                                                                                                                                                           $_____________

           33c. Copy line 13e here. ...........................................................................................................           $_____________

           33d. List other secured debts:

                                                                                                                                   
                      Name of each creditor for other                              Identify property that                        Does payment
                      secured debt                                                 secures the debt                              include taxes
                                                                                                                                 or insurance?

                       Credit Union Loan Source
                       _______________________________                             See Attachment Line 33d:
                                                                                   ________________________
                                                                                                                                   
                                                                                                                                   X      No                         0.00
                                                                                                                                                           $____________
                                                                                   Property Identification                               Yes


                       _______________________________                             ________________________
                                                                                                                                         No
                                                                                                                                                           $____________
                                                                                                                                         Yes

                                                                                                                                         No
                       _______________________________                             ________________________                                            +   $____________
                                                                                                                                         Yes

      33e. Total average monthly payment. Add lines 33a through 33d. ....................................................
                                                                                                                                                                     369.64 Copy total
                                                                                                                                                           $____________                         369.64
                                                                                                                                                                             here       $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

       
       X       No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                        Name of the creditor                         Identify property that                    Total cure                                  Monthly cure
                                                                     secures the debt                          amount                                      amount

                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =          +   $_____________

                                                                                                                                         Total                        0.00 Copy total
                                                                                                                                                           $_____________                $________0.00
                                                                                                                                                                             here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

       
       X       No. Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims .................................................................                     $____________     ÷ 60 =              0.00
                                                                                                                                                                                         $_________

Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                   page 7
                   Case 19-50439                            Doc 8              Filed 08/06/19                      Entered 08/06/19 16:23:23 Desc Main
Debtor 1           Mark Joseph Volak                     Document
                   _______________________________________________________
                                                                                                                  Page 52 ofCase
                                                                                                                             56 number (if known)_____________________________________
                                                                                                                                                 19-50439
                   First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
             No. Go to line 37.
        
        X     Yes. Fill in the following information.

                       Projected monthly plan payment if you were filing under Chapter 13                                                                            579.00
                                                                                                                                                            $_____________
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                                x        10
                                                                                                                                                             ______
                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.

                       Average monthly administrative expense if you were filing under Chapter 13                                                                      57.90 Copy total
                                                                                                                                                            $_____________                                   57.90
                                                                                                                                                                                                       $_________
                                                                                                                                                                                      here



   37. Add all of the deductions for debt payment.                                                                                                                                                           427.54
                                                                                                                                                                                                      $_________
       Add lines 33e through 36. ..............................................................................................................................................................


   Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS                                                     5,207.88
                                                                                                      $______________
       expense allowances .....................................................................

       Copy line 32, All of the additional expense deductions ..........                                        458.00
                                                                                                      $______________


       Copy line 37, All of the deductions for debt payment .............                          + $______________
                                                                                                               427.54


                                                                     Total deductions                          6,093.42
                                                                                                      $______________                           Copy total here ...............................              6,093.42
                                                                                                                                                                                                       $_________


   Part 3:           Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

                  Copy line 4, adjusted current monthly income .....                                          5,843.83
                                                                                                      $_____________
         39a.


         39b.     Copy line 38, Total deductions. .........                                       −           6,093.42
                                                                                                      $_____________

         39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                            -249.59                          Copy                        -249.59
                                                                                                      $_____________                                                $____________
                 Subtract line 39b from line 39a.                                                                                               here

                   For the next 60 months (5 years) ...........................................................................................................     x 60

         39d. Total. Multiply line 39c by 60. ..................................................................................................................              0.00 Copy
                                                                                                                                                                    $____________
                                                                                                                                                                                             here   $________0.00


   40. Find out whether there is a presumption of abuse. Check the box that applies:

        
        X     The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
              Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
              may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

              * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.


Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                                   page 8
                Case 19-50439                              Doc 8               Filed 08/06/19                        Entered 08/06/19 16:23:23 Desc Main
Debtor 1        Mark Joseph Volak                     Document
                _______________________________________________________
                                                                                                                    Page 53 ofCase
                                                                                                                               56 number (if known)_____________________________________
                                                                                                                                                   19-50439
                First Name            Middle Name                   Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form. ...........................................................
                                                                                                                                                                       $___________

                                                                                                                                                                       x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                                                          Copy
                                                                                                                                                                                                 $________
               Multiply line 41a by 0.25. ..........................................................................................................................
                                                                                                                                                                       $___________    here




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

      No. Go to Part 5.
      Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
            for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                                                                       Average monthly expense
               Give a detailed explanation of the special circumstances
                                                                                                                                                                       or income adjustment

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________
                                                                                                                                                                       $__________________

               _______________________________________________________________________________                                                                         $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                  ___________________________________________________                                                    ___________________________________
                  Signature of Debtor 1                                                                                          Signature of Debtor 2


                  Date _________________                                                                                         Date _________________
                          MM / DD          / YYYY                                                                                        MM / DD         / YYYY



Official Form 122A–2                                                                 Chapter 7 Means Test Calculation                                                                             page 9
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                                               Attachment
                                Debtor: Mark Joseph Volak Case No: 19-50439


Attachment Line 33d: Property Identification
     2016 Chevrolet Colorado with 81421 miles.
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B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                               WESTERN DISTRICT OF NORTH CAROLINA



In re Mark Joseph Volak

                                                                                                Case No. ___________________
                                                                                                         19-50439

Debtor                                                                                          Chapter 7____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              2,650.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                            2,650.00

     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                              0.00

2.   The source of the compensation paid to me was:

           X Debtor                                  Other (specify)

3.   The source of compensation to be paid to me is:

           X Debtor                                  Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]
          Exemption planning; preparation and filing of motions pursuant to 11USC522(f)(2)(A) for avoidance of
          liens on household goods; see fee contract




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Representation of the debtor in any dischargeability actions, judicial lien avoidances, relief from stay
     actions; any other adversary proceedings; negotiations with secured creditors to reduce to market
     value; preparation and filing of reaffirmation agreements and applications as needed; see fee contract.




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           ______________________
           Date                                     Signature of Attorney

                                                Law Offices of Robert H. Gourley Jr. P.A.
                                                    Name of law firm
